
113 B.R. 66 (1989)
In re RAY BROOKS MACHINERY, INC., Debtor.
Civ. A. No. 89-T525-N.
United States District Court, M.D. Alabama, N.D.
July 14, 1989.

ORDER
For the reasons stated in the well-reasoned decision of Judge A. Pope Gordon dated April 11, 1989, 113 B.R. 56 it is the ORDER, JUDGEMENT, and DECREE of the court that the opinion of the United States Bankruptcy Court for the Middle District of Alabama, dated April 11, 1989, is affirmed.
It is further ORDERED that the costs are taxed against the appellant, for which execution may issue.
Affirmed, 11th Cir., 898 F.2d 159.
